










Opinion issued December 1, 2005











In The
Court of Appeals
For The
First District of Texas




NO. 01–05–00828–CV




COLT ROBERT FREUND, Appellant

V.

MANDY JEAN MILLER, Appellee




On Appeal from the 127th District Court
Harris County, Texas
Trial Court Cause No. 2004-59991




MEMORANDUM OPINIONAppellant Colt Robert Freund has neither established indigence, nor paid all
the required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases
unless indigent), 20.1 (listing requirements for establishing indigence); see also Tex.
Gov’t Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon Supp. 2004) (listing fees
in court of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals). 
After being notified that this appeal was subject to dismissal, appellant Colt Robert 
Freund did not adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of
rule); 42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.
PER CURIAM
Panel consists of Justices Taft, Jennnings, and Higley.


